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                   Exhibit 5
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From:            Aaron Etra
To:              Steven Popofsky
Cc:              Joshua K. Bromberg
Subject:         Benthos
Date:            Tuesday, September 15, 2020 4:33:36 PM


Mr. Popofsky,

I am in preparation for the Jewish holidays and have limited capacity during this period, especially
under my health circumstances.

I respectfully request rescheduling all required action on my part for dates as late as possible
beginning with the week of October 12th, which will be my first post-holidays.

Thank you,

Aaron Etra
